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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                             CRIMINAL ACTION NO. 3:07CR154-P-A

ALI OBAD, ET AL.,                                                              DEFENDANTS.

                                 ORDER CONTINUING TRIAL

       This matter comes before the court upon Defendant Ali Obad’s second motion for

continuance [45]. After due consideration of the motion, the court finds as follows, to-wit:

       Trial is currently set for January 7, 2008. Defense counsel requests a continuance since he

recently was substituted as counsel for Defendant Obad on or about November 29, 2007. Defense

counsel avers that he needs additional time to investigate the merits of the Government’s case.

Defendant also indicates in his motion that he is willing to waive his right to a speedy trial.

However, pursuant to Zadner v. United States, 126 S.Ct. 1976, 1985 (2006), one cannot waive his

rights under the Speedy Trial Act.

       The Government has no objection to the continuance.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from January 7, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

       IT IS THEREFORE ORDERED AND ADJUDGED that:


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       (1) Defendant Ali Obad’s second motion for continuance [45] is GRANTED;

       (2) Trial of this matter is continued as to Defendants Ali Obad and Sheila Al-Sanabani until

Monday, February 11, 2008 at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from January 7, 2008 to February 11, 2008 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is January 22, 2008; and

       (5) The deadline for submitting a plea agreement is January 29, 2008.

       SO ORDERED this the 30th day of November, A.D., 2007.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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